
Love :
This is a proceeding to redetermine a deficiency amounting to $80 in income tax for the year 1923. It was submitted on the pleadings. The deficiency' arose from the disallowance by the respondent of a deduction of an alleged loss claimed by the petitioner to have resulted from the facts set forth in the findings, which are the only facts before us.
EINDINGS OE FACT.
The petitioner owned $5,000 par value of the capital stock of the Federal Reserve &amp; Guaranty Co. At a meeting of the stockholders of that corporation held March 4, 1922, it was determined to reduce the amount of the outstanding capital stock by one-half. On March 4, 1923, the petitioner, surrendered to the corporation his $5,000 of stock and received in .exchange therefor stock of the par value of $2,500.
The deficiency is redetermined to be $80. Order will be entered accordingly. See Appeals of Charles A. Gordon, 1 B. T. A. l%®3f Coney ds Parker Co., % B. T. A. JfiO.
